                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                         )
                                                  )          1:12-CR-148
 v.                                               )
                                                  )          Judge Curtis L. Collier
 TIMOTHY JOE SWALLOWS                             )

                                     MEMORANDUM

        Defendant Timothy Joe Swallows (“Swallows”) filed a motion to suppress evidence from

 a vehicle search as well as statements he made to law enforcement officers (Court File No. 54). The

 motion was referred to United States Magistrate Judge William B. Mitchell Carter, who held a

 hearing on June 28, 2013 and subsequently filed a Report and Recommendation (“R&R”)

 concluding that Swallows’s motion should be denied (Court File No. 68). Swallows timely objected

 (Court File No. 69), and the government responded to the objection (Court File No. 70). For the

 following reasons, the Court will ACCEPT and ADOPT the R&R (Court File No. 68).

 Accordingly, Swallows’s motion to suppress will be DENIED (Court File No. 54).

 I.     RELEVANT FACTS

        The following recitation of facts is derived primarily from the Magistrate Judge’s R&R.

 Deputy Darren Miller (“Deputy Miller”) of the Bradley County Sheriff’s Office was parked on the

 roadside in a known drug trafficking area on June 17, 2012. After his radar showed a vehicle going

 40 mph in a 30 mph zone, he pulled the vehicle over and learned the driver was Swallows and the

 passenger was codefendant Amber Flowers (“Flowers”). Swallows, who smelled of alcohol and

 admitted at the beginning of the traffic stop that he had been drinking, was unable to produce a

 driver’s license. Swallows passed the three sobriety tests administered by Deputy Miller. After

 arriving on the scene to assist, Deputy Tim Robinson learned that Swallows’s driver’s license had




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 been revoked. Deputy Miller took Swallows into custody based on state law and Bradley County

 Sheriff’s Office policy permitting custodial arrest for driving on a revoked or suspended license.

        Upon learning Flowers had an outstanding warrant for methamphetamine precursors, the

 deputies also took her into custody. After informing Flowers of her Miranda rights, Deputy Miller

 asked Flowers whether she had anything illegal on her. She said she did not. Asked a second time,

 she invited the deputy to shake her bra and search her himself. Deputy Miller declined. After being

 uncuffed, Flowers took a large bag of methamphetamine out of her bra. As she did so, another bag

 of methamphetamine fell to the ground. The entire stop took fifteen to twenty minutes.

        Following the arrests, the deputies conducted an inventory search of the vehicle before

 having it towed. Deputy Miller also testified that he believed there was probable cause to search

 the vehicle, given the drugs found on Flowers and that the vehicle was stopped in an area known for

 drug trafficking. The search turned up syringes, digital scales, jump drives, seven cell phones, cut

 straws, and $1,404 in cash.

        Detectives Zechary Pike (“Det. Pike”) and Joe Musselwhite (“Det. Musselwhite”) of the

 Bradley County Sheriff’s Office interviewed Swallows at the Bradley County jail. After sitting

 down together, Det. Pike placed a standard Admonition and Waiver of Rights form in front of

 Swallows. The detective read the admonition section to Swallows, which informed Swallows of his

 Miranda rights, and then said “if you’re willing to speak with me, sign your name and print right

 there,” pointing to the signature portion of the form. Swallows signed the form and answered Det.

 Pike’s questions for about twenty minutes, after which he invoked his right to a lawyer and the

 interview promptly ended.

        During the interview, Swallows said that earlier in the day he had “been drinking a bit” and


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 done “maybe a gram” of methamphetamine. Swallows, who sat uncuffed, carried on a coherent

 conversation with Det. Pike, who conducted the questioning, and Swallows showed no indication

 that he did not understand the questions. The detectives remained seated during the interview,

 maintained a conversational tone, and did not display a weapon or otherwise engage in intimidating

 behavior. During the course of the interview, Swallows made several incriminating statements.

        Swallows filed the instant motion to suppress based on two grounds: (1) that the evidence

 from the vehicle search should be suppressed because his Fourth Amendment rights were violated,

 and (2) that his statements during the post-arrest interview should be suppressed because his Fifth

 Amendment rights were violated. Regarding the Fourth Amendment claims, the Magistrate Judge

 concluded that the deputies lawfully seized and arrested Swallows for driving on a revoked license.

 The Magistrate Judge also determined that the search was proper, either as an inventory search

 pursuant to Sheriff’s Office policy or because probable cause arose after finding the

 methamphetamine on Flowers. Regarding the Fifth Amendment claims, the Magistrate Judge

 concluded that Swallows intelligently and voluntarily waived his Miranda rights. The Magistrate

 Judge noted that the video of the interview showed that Swallows was read his rights, agreed to

 answer questions (evidenced in part by signing a Miranda waiver), and proceeded to coherently

 answer questions in a calm and non-coercive environment.

        After the Magistrate Judge filed his R&R, Swallows timely filed an objection. Swallows

 objects to the Magistrate Judge’s conclusion that there was probable cause to arrest Swallows. He

 also objects to the conclusion that the vehicle search was proper as an inventory search or because

 there was probable cause. Finally, Swallows objects to the conclusion that Swallows voluntarily and

 knowingly waived his Miranda rights.


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 II.      STANDARD OF REVIEW

          This Court must conduct a de novo review of those portions of the R&R to which objection

 is made. 28 U.S.C. § 636(b)(1)(C). But de novo review does not require the district court to rehear

 witnesses whose testimony has been evaluated by the Magistrate Judge. See United States v.

 Raddatz, 447 U.S. 667, 675-76 (1980). The Magistrate Judge, as the factfinder, had the opportunity

 to observe and hear the witnesses and assess their demeanor, putting him in the best position to

 determine credibility. See Moss v. Hofbauer, 286 F.3d 851, 868 (6th Cir. 2002); United States v.

 Hill, 195 F.3d 258, 264-65 (6th Cir. 1999). The Magistrate Judge’s assessment of witnesses’

 testimony is therefore entitled to deference. United States v. Irorere, 69 F. App’x 231, 236 (6th Cir.

 2003).

 III.     DISCUSSION

          A. Arrest

          Swallows objects to the Magistrate Judge’s conclusion that there was probable cause to arrest

 him. Swallows does not contest the initial traffic stop for speeding, but argues that the deputies

 impermissibly extended the stop beyond what was reasonable for issuance of a speeding citation

 and, further, should not have arrested Swallows even after determining that he was driving on a

 revoked license.

          The Court agrees with the Magistrate Judge that Deputy Miller did not impermissibly extend

 the stop or improperly detain Swallows. At the very beginning of the encounter, Swallows advised

 Deputy Miller that Swallows did not have a driver’s license—itself an arrestable offense in

 Tennessee. Tenn. Code Ann. § 55-50-351. Shortly after this admission, the deputies learned that




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 Swallows was in fact driving on a revoked license. The entire traffic stop took between fifteen and

 twenty minutes, a reasonable length of time.1

        The arrest itself was also proper. Under the United States Constitution and Tennessee law,

 a suspect may be arrested if a law enforcement officer witnesses the suspect driving on a revoked

 license. “If an officer has probable cause to believe that an individual has committed even a very

 minor criminal offense in his presence, he may, without violating the Fourth Amendment, arrest the

 offender.” Atwater v. City of Lago Vista, 532 U.S. 318, 354 (2001). Further, although under Tenn.

 Code Ann. § 40-7-118 issuance of a citation instead of arrest is required for most misdemeanors, “in

 the case of driving on a revoked license, an officer has the discretion to either issue a citation or

 arrest the offending party.” United States v. Coats, 335 F. Supp. 2d 871, 873 n.1 (W.D. Tenn. 2004)

 (citing Tenn. Code Ann. § 40-7-118(b)(3)(C)); see also Tenn. Code Ann. § 55-50-351 (permitting

 law enforcement officers to “effect the arrest” of any person found driving without a license). Thus,

 the Magistrate Judge correctly concluded that Swallows’s arrest did not violate the Fourth

 Amendment.             B. Vehicle Search

        Swallows also objects to the Magistrate Judge’s conclusion that the vehicle search did not

 violate the Fourth Amendment because it was either a proper administrative search or there was

 probable cause. Swallows cites Arizona v. Gant, 556 U.S. 332 (2009), for the proposition that



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          It should be noted that as a matter of course officers are permitted to carry out license
 checks during traffic stops, and, if conducted reasonably, such activity does not impermissibly
 extend a stop. See e.g., United States v. Garrido-Santana, 360 F.3d 565, 573-74 (6th Cir. 2004)
 (finding that it was “objectively reasonable and within the bounds of the traffic stop for [law
 enforcement] to have requested a computer check to ensure that defendant was lawfully operating
 the vehicle.”); United States v. Wellman, 185 F.3d 651, 656 (6th Cir. 1999) (holding it was lawful
 for an officer to “ask[] defendant to sit in the squad car while he wrote a courtesy citation and
 performed record checks of his driver's license and registration”).

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 incident to arrest, law enforcement may only search a vehicle for evidence of the suspected crime

 or to ensure the safety of officers. Thus, concludes Swallows, the deputies should have not searched

 his vehicle while he was safely secured in the back of a patrol car, having been arrested for driving

 on a revoked license, a crime for which evidence would not be found in the vehicle. Swallows

 correctly states Gant’s holding with respect to searches incident to arrest, but he incorrectly

 dismisses two other grounds for a search: an inventory search and a search when there is probable

 cause to believe evidence of another crime will be found in the vehicle.

         It does not violate the Fourth Amendment for law enforcement to conduct a warrantless

 search of a vehicle upon taking custody of it. United States v. Lumpkin, 159 F.3d 983, 987 (6th Cir.

 1998). “Such inventory ‘searches serve to protect an owner’s property while it is in the custody of

 the police, to insure against claims of lost, stolen, or vandalized property, and to guard the police

 from danger.’” Id. (quoting Colorado v. Bertine, 479 U.S. 367, 372 (1987)). Three requirements

 apply to inventory searches: (1) police must lawfully take custody of the vehicle; (2) the search must

 be conducted in accordance with established police procedures and not for the purpose of

 investigation, and (3) the police policy itself must be reasonable. United States v. Rollins,

 1:09-CR-181, 2010 WL 3851403 (E.D. Tenn. Sept. 27, 2010) (citing United States v. Smith, 510

 F.3d 641, 651 (6th Cir. 2007)); see also Florida v. Wells, 495 U.S. 1, 5 (1990); United States v.

 Tackett, 486 F.3d 230, 232 (6th Cir.2007).

        A vehicle can lawfully be in law enforcement custody even though it has not yet been towed

 to an impound lot, if this reflects the inventory policy of the law enforcement agency. See United

 States v. Kimes, 246 F.3d 800, 804 (6th Cir. 2001). Bradley County Sheriff’s Office General Order

 1.2.4 provides that deputies conduct an inventory search prior to towing a vehicle, which is what


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 occurred here.

         It was established during the hearing that the deputies were following a written Sheriff’s

 Office procedure to seize—and in doing so conduct an inventory search of—vehicles suspected of

 being involved in drug trafficking. See Bradley County Sheriff’s Office General Order 61.4.3. Soon

 after Swallows was arrested, the deputies’ questioning of Flowers resulted in her producing two bags

 containing a significant amount of methamphetamine. This established that the vehicle possibly was

 being used for drug trafficking, which provided an adequate ground for taking custody of the vehicle

 and conducting an inventory search.

         Such a policy is reasonable. See Smith, 510 F.3d at 651 (“[W]here police have probable

 cause to believe a car is subject to forfeiture, or have validly seized a car for forfeiture, the police

 may search the car without a warrant.”) (internal quotation marks omitted); United States v. Allen,

 4:08-CR-40, 2009 WL 3297286 (E.D. Tenn. Oct. 13, 2009) (noting that because “Tennessee law

 permits the seizure of vehicles used to transport unlawful controlled substances,” it was permissible

 for an officer to conduct a warrantless inventory search of a vehicle he suspected was being used

 to sell narcotics).

         The search can also be supported by probable cause. And there need not be tension between

 upholding a search under both the inventory search and probable cause standards, as “the mere fact

 that an officer suspects that contraband may be found in a vehicle does not invalidate an otherwise

 proper inventory search.” Smith, 510 F.3d at 651. Here, the ground for taking the vehicle into

 custody—that it appeared to be involved in drug trafficking—also provided probable cause to search

 the vehicle without a warrant. “If there is probable cause to believe a vehicle contains evidence of

 criminal activity,” officers may without a warrant search “any area of the vehicle in which the


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 evidence might be found.” Gant, 556 U.S. at 347 (citing United States v. Ross, 456 U.S. 798,

 820–821 (1982)); see also United States v. Lumpkin, 159 F.3d 983, 986 (6th Cir. 1998) (“Under the

 automobile exception to the warrant requirement, law enforcement officers may search a readily

 mobile vehicle without a warrant if they have probable cause to believe that the vehicle contains

 evidence of a crime.”)

         “Probable cause exists when there is a fair probability that contraband or evidence of a crime

 will be found in a particular place.” Id. (internal quotation marks and citation omitted). The

 determination is a “commonsense, practical question” based upon the totality of the circumstances.

 Illinois v. Gates, 462 U.S. 213, 230-31 (1983). And “[t]his totality of the circumstances analysis

 includes a realistic assessment of the situation from a law enforcement officer’s perspective,” taking

 into account law enforcement training and experience. United States v. Ferguson, 8 F.3d 385, 392

 (6th Cir. 1993).

        In the present case, deputies watched Flowers remove a large bag of methamphetamine from

 her bra, as another bag fell to the ground. Finding illegal drugs on a person who has just exited a

 vehicle can provide probable cause to believe further evidence of a drug crime might be found in

 the vehicle. See e.g., United States v. Johnson, 383 F.3d 538, 545 (7th Cir. 2004) (An officer finding

 a small amount of cocaine in a driver’s hat “alone provided [the officer] with probable cause that

 a crime had been, or was being committed and, therefore, he was not violating [the defendant’s]

 constitutional right when searching the vehicle, including the trunk.”). Further, the traffic stop here

 occurred in a neighborhood known to the deputies for drug trafficking. Under the totality of the

 circumstances, there was a fair probability that further evidence of drug trafficking would be found

 in the vehicle.


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         C. Miranda Waiver

        In objecting to the Magistrate Judge’s Fifth Amendment analysis, Swallows argues that even

 though he was read his Miranda rights, he neither understood nor voluntarily waived them. The

 Fifth Amendment protects a person from being compelled to incriminate him or herself. See, e.g.,

 Miranda v. Arizona, 384 U.S. 436, 467 (1966). A suspect who is in custody and subject to

 interrogation must be given Miranda warnings against self-incrimination. Miranda, 384 U.S. at

 467-68. Because of the pressures and psychological stress exerted on those in custody, law

 enforcement officers are required to adequately and effectively apprise such individuals of their

 rights and must fully honor their decision should they seek counsel before answering questions. Id.

 at 467. If an individual agrees to answer questions without counsel, the officer can then question

 the individual freely. Davis v. United States, 512 U.S. 452, 458 (1994). The government bears the

 burden of establishing a waiver by the preponderance of the evidence. United States v. Adams, 583

 F.3d 457, 467 (6th Cir. 2009) (citing United States v. Nichols, 512 F.3d 789, 798 (6th Cir. 2008)).

 A “waiver of Miranda rights must be voluntary, that is, ‘the product of a free and deliberate choice

 rather than intimidation, coercion or deception.’” Id. (quoting Machacek v. Hofbauer, 213 F.3d 947,

 954 (6th Cir.2000). Voluntariness of a defendant’s confession is determined under the totality of

 the circumstances. Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973); United States v. Canipe,

 569 F.3d 597, 602 (6th Cir. 2009). A waiver must also be “‘made with a full awareness both of the

 nature of the right being abandoned and the consequences of the decision to abandon it.’” Daoud

 v. Davis, 618 F.3d 525, 529 (6th Cir. 2010) (quoting Moran v. Burbine, 475 U.S. 412, 421 (1986)).

        As the Magistrate Judge concluded, the evidence points to a properly given Miranda warning

 followed by Swallows’s intelligent and voluntary waiver. Swallows asserts he was too intoxicated


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to understand his rights, but the evidence indicates otherwise. In the taped interview, Swallows

appears to have understood each question put to him and gives coherent—though sometimes

evasive—answers. Also, it is notable that he passed all the field sobriety tests administered during

the traffic stop. The Magistrate Judge, who was best able to determine credibility of the witnesses,

was not convinced that any lingering effects of drugs or alcohol were enough to prevent an

intelligent and voluntary waiver. Swallows does not provide persuasive evidence to the contrary.

       Swallows also asserts that waiver was inadequate because Det. Pike did not read the waiver

portion of the Admonition and Waiver of Rights form aloud and specifically ask him to waive his

Miranda rights, and that Swallows never waived: “[Swallows] was simply read his rights, and he

stated he understood those rights. However, he was never asked whether he would waive the rights

and he did not in fact waive his right to have counsel present at the interview” (Court File No. 51).

Miranda, however, does not require express waiver. “If the [prosecution] establishes that a Miranda

warning was given and the accused made an uncoerced statement, this showing, standing alone, is

insufficient to demonstrate ‘a valid waiver’ of Miranda rights.” Berghuis v. Thompkins, 560 U.S.

370, 130 (2010) (citing Miranda, 384 U.S. at 475). In other words, “[w]here the prosecution shows

that a Miranda warning was given and that it was understood by the accused, an accused’s uncoerced

statement establishes an implied waiver of the right to remain silent.” Id.

       Here, Swallows admits that after being read his Miranda rights, “he stated he understood

those rights” (Court File No. 51). There is no reason to believe he did not. Swallows, an adult with

a 10th grade education, has incurred multiple felony convictions that likely familiarized him with

his rights under Miranda. Further, the video of the interview shows Det. Pike reading Swallows his

Miranda rights and then pointing to the waiver form and saying “if you’re willing to speak with me,


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sign your name and print right there.” Swallows signs the waiver form and proceeds to answer

questions in a sufficiently alert and coherent manner. Although Swallows may have limited

education, there was no evidence he suffered from a mental disease or defect that would inhibit his

understanding of the rights read to him. There is sufficient evidence to establish intelligent waiver.

         Also, there was no indication of a coercive environment that would undermine the

voluntariness of waiver. Detectives Pike and Musselwhite never display a firearm, and they remain

seated and calm the entire interview. Neither makes any threats or promises.           Swallows also

remains seated, and the interview, which lasted about twenty minutes, ends promptly when he asks

for a lawyer. The Court agrees with the Magistrate Judge that the interview statements were not

taken in violation of the Fifth Amendment.

IV.      CONCLUSION

         For the foregoing reasons, the Court will ACCEPT and ADOPT the R&R (Court File No.

68). Defendant’s motion to suppress will be DENIED (Court File No. 54).

         An Order Shall Enter.

                                               /s/
                                               CURTIS L. COLLIER
                                               UNITED STATES DISTRICT JUDGE




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